Case 24-12445   Doc 24-4   Filed 12/19/24 Entered 12/19/24 16:30:11   Desc Exhibit
                                    Page 1 of 4




                               EXHIBIT 4
Case 24-12445   Doc 24-4   Filed 12/19/24 Entered 12/19/24 16:30:11   Desc Exhibit
                                    Page 2 of 4
Case 24-12445   Doc 24-4   Filed 12/19/24 Entered 12/19/24 16:30:11   Desc Exhibit
                                    Page 3 of 4
Case 24-12445   Doc 24-4   Filed 12/19/24 Entered 12/19/24 16:30:11   Desc Exhibit
                                    Page 4 of 4
